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FROM: 07954043 |

TO: Smith, D i

SUBJECT: REQUEST FOR RECORD ON APPEAL NOV A pnp;

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IN THE UNITED STATES DISTRICT COURT re eee shee ag PM
FOR THE DISTRICT OF ARIZONA fi

DAVID SMITH Plaintiff

vy. Case No. 4:21-cv-322-SHR

EDNA LARA, et. al. Defendants

PLAINTIFF'S REQUEST FOR RECORD ON APPEAL

4. The Plaintiff has filed a Notice of Appeal and an Amended Notice of Appeal, appealing this case to the Ninth Circuit

Court of Appeals.

2. In order to properly prepare the briefs for this appeal, the Plaintiff requires the Record On Appeal from the district

court, including the ROA paginated pages of the record.

3. According to Ninth Circuit Rule 30-3, the district court clerk, upon request, shail forward a copy of the Record On

Appeal to the incarcerated, pro se Plaintiff within 21 days of the request.

4. The Plaintiff requests that the clerk's office forward him a copy of the entire district court record, including the
original complaint, the motion to allow duplicative claim and attached exhibits, all court orders, and all other filings on the

docket as required by Ninth Circuit Rule 30-3.

Respectfully Submitted, this the 29th day of October, 2021.

DNS

ee SMITH

David Smith, #07954-043
USP Tucson

P.O, Box 24550

Tucson, AZ 85734

 
